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17
                                  UNITED STATES DISTRICT COURT
18
                                NORTHERN DISTRICT OF CALIFORNIA
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20   JOHN DOE ONE, JOHN DOE TWO, JOHN Case No.: 3:18-cv-1031-EMC
     DOE THREE, JOHN DOE FOUR, and JOHN
21   DOE FIVE, on behalf of themselves and all JOINT STATUS REPORT
     others similarly situated,
22
             Plaintiffs,                             Judge: Hon. Edward M. Chen
23                                                   San Francisco Courthouse
             v.                                      Courtroom 5, 17th Floor
24
     CVS PHARMACY, INC.; CAREMARK,                   Second Amended Complaint: March 31, 2021
25   L.L.C.; CAREMARK CALIFORNIA
     SPECIALTY PHARMACY, L.L.C.; and
26   DOES 1-10, inclusive,
27                Defendants.
28

                                                                           NOTICE OF APPEARANCE
                                                                         CASE NO. 3:18-CV-1031-EMC
     4883-5891-5332.1
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 1           Counsel for the John Doe Plaintiffs and for the CVS Defendants provide the Court with the
 2   following update:
 3           On November 12, 2021, the U.S. Supreme Court dismissed the petition for a writ of certiorari, by
 4   joint stipulation of the parties. This Court previously calendared a status conference for February 8, 2022,
 5   with a joint status report due on February 1, 2022. The parties agree that conference date is still appropriate
 6   and that the current stay of proceedings should remain in effect until then. Should the Court prefer to set
 7   an earlier status conference date, the parties of course will accommodate the Court’s schedule. In advance
 8   of the status conference the parties will meet and confer in an effort to agree upon a joint proposed
 9   scheduling order.
10                                             ECF ATTESTATION
11           Pursuant to L.R. 5-1(i)(3), John J. Atallah hereby attests that concurrence in the filing of this
12   document has been obtained from all signatories.
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14   //
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                                                                                 CASE NO. 3:18-CV-1031-EMC
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               Case 3:18-cv-01031-EMC Document 177 Filed 11/24/21 Page 3 of 5



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                                             Pharmacy, L.L.C.
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                                                                    CASE NO. 3:18-CV-1031-EMC
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                                                                        CASE NO. 3:18-CV-1031-EMC
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 1                                      CERTIFICATE OF SERVICE
 2           The undersigned hereby certifies that a true and correct copy of the foregoing document has been
 3   served on November 24, 2021 to all counsel of record, who are deemed to have consented to electronic
 4   service via the court’s CM/ECF system per Civil Local Rule 5.1.
 5
                                                                   /s/ John J. Atallah
 6                                                               John J. Atallah
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